                                           Case 2:20-cv-01437-FWS-AS        Document 241-2   Filed 10/11/23   Page 1 of 3 Page ID
                                                                                   #:4407


                                             1   Reed Aljian (State Bar No. 211010)
                                                   ra@dallp.com
                                             2   Justin E. D. Daily (State Bar No. 209772)
                                             3
                                                   jd@dallp.com
                                                 Simon Kwak (State Bar No. 297362)
                                             4     sk@dallp.com
                                                 DAILY ALJIAN LLP
                                             5   100 Bayview Circle, Suite 5500
                                                 Newport Beach, CA 92660
                                             6   Telephone: 949.861.2524
                                             7   Facsimile: 949.269.6364
                                             8 Attorneys for Defendants named as LA LUZ DEL MUNDO,
                                             9 an alleged unincorporated association; COMMUNICATION
                                               CENTER BEREA U.S.A. LLC (erroneously sued as International
                                            10
                                               Berea USA); and NAASON JOAQUIN GARCIA, an individual.
                                            11
DAILY ALJIAN LLP
               Newport Beach, California




                                                                           UNITED STATES DISTRICT COURT
                                            12
                                                       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                            13

                                            14   SOCHIL MARTIN,                              Case No.: 2:20−CV−01437-FWS (ASx)
                                            15                Plaintiff,
                                                                                             PROOF OF SERVICE
                                            16         v.
                                                                                             Judge:     Hon. Fred W. Slaughter
                                            17   LA LUZ DEL MUNDO, an                        Courtroom: 10D (Santa Anta)
                                                 unincorporated association, et al.
                                            18
                                                              Defendants.                    Magistrate Judge: Hon. Alka Sagar
                                            19
                                                                                             Courtroom:        540 (Roybal)
                                            20
                                                                                             Action Filed:      February 12, 2020
                                            21
                                                                                             Trial Date:        April 23, 2024
                                            22

                                            23

                                            24

                                            25

                                            26

                                            27

                                            28

                                                                                      PROOF OF SERVICE
                                           Case 2:20-cv-01437-FWS-AS     Document 241-2       Filed 10/11/23   Page 2 of 3 Page ID
                                                                                #:4408


                                             1                                 PROOF OF SERVICE
                                             2                        UNITED STATES DISTRICT COURT
                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                             3
                                                 CASE NAME:        SOCHIL MARTIN v. LA LUZ DEL MUNDO, et al.
                                             4

                                             5         I am employed in the City of Newport Beach, County of Orange, State of
                                                 California. I am over the age of 18 years and not a party to the within action. My
                                             6   business address is 100 Bayview Circle, Suite 5500, Newport Beach, California
                                             7   92660. On October 11, 2023, I caused the foregoing document(s) to be served:
                                             8      1. STIPULATION REGARDING INSPECTION OF PLAINTIFF’S
                                             9         ELECTRONIC DEVICES
                                            10      2. [PROPOSED] ORDER ON STIPULATION REGARDING
                                            11         INSPECTION OF PLAINTIFF’S ELECTRONIC DEVICES
DAILY ALJIAN LLP
               Newport Beach, California




                                            12

                                            13
                                                 on the following parties:
                                            14

                                            15                               SEE ATTACHED SERVICE LIST

                                            16   [X]    (BY EMAIL) The above-referenced document was transmitted by email.
                                            17
                                                 [X]    (FEDERAL) I declare that I am employed in the office of a member of the bar
                                            18           of this court, at whose direction this service was made.
                                            19
                                                        Executed on October 11, 2023, at Newport Beach, California.
                                            20

                                            21
                                                                                                     /s/ Bahar Ebe
                                            22
                                                                                                         Bahar Ebe
                                            23

                                            24

                                            25

                                            26

                                            27

                                            28
                                                                                          1
                                                                                 PROOF OF SERVICE
                                           Case 2:20-cv-01437-FWS-AS   Document 241-2       Filed 10/11/23   Page 3 of 3 Page ID
                                                                              #:4409


                                             1                                 SERVICE LIST
                                             2
                                                  Daniel S. Cha
                                             3      DCha@GGTrialLaw.com
                                             4    Eckley Keach
                                                    ekeach@ggtriallaw.com
                                             5    Crystal Rose
                                             6      crose@ggtriallaw.com
                                                  Amanda Despujol
                                             7      adespujol@ggtriallaw.com
                                             8    GREENBERG GROSS LLP
                                                  650 Town Center Drive, Suite 1700
                                             9    Costa Mesa, California 92626
                                                   Attorneys for Plaintiff SOCHIL MARTIN
                                            10

                                            11    Michael Reck
                                                   MReck@AndersonAdvocates.com
DAILY ALJIAN LLP
               Newport Beach, California




                                            12     cafiling@andersonadvocates.com
                                                  JEFF ANDERSON & ASSOCIATES
                                            13    12011 San Vincente Boulevard, #700
                                                  Los Angeles, California, 90049
                                            14     Attorneys for Plaintiff SOCHIL MARTIN
                                            15    Alan J. Jackson
                                                   ajackson@werksmanjackson.com
                                            16    Caleb E. Mason
                                                   cmason@werksmanjackson.com
                                            17    WERKSMAN JACKSON & QUINN LLP
                                                  888 W 6th St, Fourth Floor
                                            18    Los Angeles, CA 90017
                                                   Attorneys for Defendant NAASÓN JOAQUÍN GARCÍA
                                            19
                                                  Ethan J. Brown
                                            20     ethan@bnsklaw.com
                                                  Geoffrey A. Neri
                                            21     geoff@bnsklaw.com
                                                  BROWN, NERI, SMITH & KHAN LLP
                                            22    11601 Wilshire Blvd., Suite 2080
                                                   Attorneys for Defendant COMMUNICATION CENTER BEREA
                                            23    U.S.A. LLC (erroneously sued as International Berea USA)
                                            24

                                            25

                                            26

                                            27

                                            28
                                                                                        2
                                                                              PROOF OF SERVICE
